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FILED
UNITED STATES DISTRICT COURT |“ SK_US_disTRIcT court
CENTRAL DISTRICT OF CALIFORNIA |

In the Matter of the Creation of the ) ES
Calendar ) ORDER OF THE CHIEF JUDGE
)
of )
) _
Judge BEVERLY REID O’CONNELL ) 43° 074
)

Pursuant to the recommended procedure adopted by the Court for the creation of the
calendar of Judge Beverly Reid O’Connell,

IT IS HEREBY ORDERED that the following cases are hereby transferred from the
calendar of Judge James V. Selna to the calendar of Judge Beverly Reid O’Connell:

CV 04 00289 JVS(AJW) Sergio Cadavid v. Michael Harrison

CV 07 08310 JVS Richard Ramirez v. Robert L Ayers

CV 12 10987 JVS(SS) Fredrick Luna v. J Soto

ED 12 00539 JVS(MRW) Daniel Loreto Noriega v. People of the State of California
SA 11 01395 JVSCMLGx) SEALED v. SEALED

SA 12 00371 JVS(RNBx) Discos Barajas v. Vina Distributor et al

SA 12 01605 JVS(ANx) Marcelina Miranda v. Target Corporation et al

SA 12 02084 JVS(ANx) Fireman's Fund Insurance Company v. Broan-Nutone, LLC
et al

SA 13 00219 JVS(RNBx) Thomas Troiani v. Flobridge Microloan Company LLC et al

SA 13 00349 JVSQJPRx) Local 50 et al v. Service International Union CTW-CTU et
al

SA 13 00509 JVS(ANx) Thomas Anthony Capra v. Officer D Blanco et al
SA 13 00520 JVS(JPRx) Peter Truong et al v. Wells Fargo Bank NA et al

DATED: May L013 [ pa

George H. King
Chief United States Distfict Judge

